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                                IN THE UNITED STATES DISTRICT COURT
                                FOR THE SOUTHERN DISTRICT OF TEXAS
                                          HOUSTON DIVISION

                                                 §
LEGENDS, INC.,                                   §
                                                 §
                         Plaintiff,              §    Civil Action No. 4:09-CV-3463
v.                                               §
                                                 §
      THE UPPER DECK CO., LLC,                   §
                       et al.,                   §    JURY TRIAL DEMANDED
                                                 §
                         Defendants.             §
                                                 §

                          STIPULATION OF DISMISSAL WITH PREJUDICE

            The plaintiff, Legends, Inc. and defendant PAID, Inc., pursuant to Fed. R. Civ. P.

41(a)(i) and (ii), hereby stipulate to the dismissal of the Plaintiff’s claims in this action WITH

PREJUDICE subject to the terms of that certain agreement entitled “PATENT LICENSE

AND SETTLEMENT AGREEMENT” and dated February 26, 2010, with each party to

bear its own costs, expenses and attorneys fees.

Dated: March 3, 2010                                         Respectfully submitted,

LEGENDS, INC.,                                               PAID, INC.,

By its attorneys,                                            By its attorneys,



/s/ John M. Bustamante                                              /s/ Sean M. Higgins
John M. Bustamante                                           Sean M. Higgins
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                            CERTIFICATE OF SERVICE

        I hereby certify that the counsel of record who are deemed to have consented to
electronic service are being served on March 3, 2010 with a copy of this document via
the Court’s CM/ECF system per Local Rule CV-5.3 or via e-mail.

March 3, 2010                                         By: /s/ John M. Bustamante
                                                                    John M. Bustamante




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